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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No.

TODD SEALE,

       Plaintiff,

       v.

QEP RESOURCES, INC., TIMOTHY J. CUTT,
PHILLIPS S. BAKER, JR., JULIE A. DILL,
JOSEPH N. JAGGERS, MICHAEL J. MINAROVIC,
MARY SHAFER-MALICKI, and BARTH E. WHITHAM,

      Defendants.
______________________________________________________________________________

   COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS AND
                                JURY DEMAND
______________________________________________________________________________

       Plaintiff Todd Seale (“Plaintiff”), by Plaintiff’s undersigned attorneys, for Plaintiff’s

complaint against Defendants (defined below), alleges the following based upon personal

knowledge as to Plaintiff and Plaintiff’s own acts, and upon information and belief as to all other

matters, based upon, inter alia, the investigation conducted by and through Plaintiff’s attorneys.

                                 NATURE OF THE ACTION

       1.      This is an action against QEP Resources, Inc. (“QEP” or the “Company”), and its

Board of Directors (the “Board” or the “Individual Defendants”) for their violations of Sections

14(a) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. §§ 78n(a)

and 78t(a), and Rule 14a-9 promulgated thereunder by the SEC, 17 C.F.R. § 240.14a-9, in

connection with the proposed acquisition (the “Proposed Transaction”) of QEP by Diamondback

Energy, Inc. (“Diamondback”) and Bohemia Merger Sub, Inc., a direct, wholly owned subsidiary

of Diamondback.


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                                 JURISDICTION AND VENUE

         2.    The claims asserted herein arise under and pursuant to Sections 14(a) and 20(a) of

the Exchange Act (15 U.S.C. §§ 78n(a) and 78t(a)) and Rule 14a-9 promulgated thereunder by the

SEC (17 C.F.R. § 240.14a-9).

         3.    This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331, and Section 27 of the Exchange Act, 15 U.S.C. § 78aa.

         4.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and Section 27 of

the Exchange Act (15 U.S.C. § 78aa(c)) as the Company is headquartered in this District.

         5.    In connection with the acts, conduct and other wrongs alleged in this complaint,

Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

including but not limited to, the United States mails, interstate telephone communications and the

facilities of the national securities exchange.

                                             PARTIES

         6.    Plaintiff is, and has been at all relevant times hereto, an owner of QEP common

stock.

         7.    Defendant QEP operates as a crude oil and natural gas exploration and production

company in the United States. The Company is incorporated in Delaware and its principal

executive offices are located in Denver, Colorado. The Company’s common stock trades on the

New York Stock Exchange under the ticker symbol, “QEP.”

         8.    Defendant Timothy J. Cutt (“Cutt”) is President, Chief Executive Officer, and a

director of the Company.

         9.    Defendant Phillips S. Baker, Jr. (“Baker”) is a director of the Company.

         10.   Defendant Julie A. Dill (“Dill”) is a director of the Company.



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       11.     Defendant Joseph N. Jaggers (“Jaggers”) is a director of the Company.

       12.     Defendant Michael J. Minarovic (“Minarovic”) is a director of the Company.

       13.     Defendant Mary Shafer-Malicki (“Shafer-Malicki”) is Board Chair of the

Company.

       14.     Defendant Barth E. Whitham (“Whitham”) is a director of the Company.

       15.     Defendants Cutt, Baker, Dill, Jaggers, Minarovic, Shafer-Malicki, and Whitham

are collectively referred to herein as the “Individual Defendants.”

       16.     Defendants QEP and the Individual Defendants are collectively referred to herein

as the “Defendants.”

                               SUBSTANTIVE ALLEGATIONS

   A. The Proposed Transaction

       17.     On December 21, 2020, QEP and Diamondback announced that they had entered

into a definitive agreement under which Diamondback will acquire QEP in an all-stock transaction.

Under the terms of the definitive merger agreement, stockholders of QEP will receive 0.05 shares

of Diamondback common stock in exchange for each share of QEP common stock.

       18.     According to the press release announcing the merger, upon closing of the

transaction and excluding the impact of shares to be issued in a previously announced acquisition

of assets from Guidon Operating LLC, Diamondback stockholders will own approximately 92.8%

of the combined company, and QEP stockholders will own approximately 7.2%. The press release

announcing the merger states, in pertinent part:

             Diamondback Energy, Inc. to Acquire QEP Resources in All-Stock
                                      Transaction

       December 21, 2020 06:40 ET | Source: Diamondback Energy, Inc.




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      MIDLAND, Texas, Dec. 21, 2020 (GLOBE NEWSWIRE) -- Diamondback
      Energy, Inc. (NASDAQ: FANG) (“Diamondback” or the “Company”) and QEP
      Resources (NYSE: QEP) (“QEP”) today announced that they have entered into a
      definitive agreement under which Diamondback will acquire QEP in an all-stock
      transaction valued at approximately $2.2 billion, including QEP’s net debt of $1.6
      billion as of September 30, 2020. The consideration will consist of 0.05 shares of
      Diamondback common stock for each share of QEP common stock, representing
      an implied value to each QEP stockholder of $2.29 per share based on the closing
      price of Diamondback common stock on December 18, 2020. The transaction was
      unanimously approved by the Board of Directors of each company.

      QEP HIGHLIGHTS:

      •   Approximately 49,000 net acres in the Midland Basin primarily held by
          production allowing for capital efficient development
      •   Q3 2020 average production of 48.3 MBO/d (76.7 MBOE/d); Q3 2020 average
          Permian production of 30.5 MBO/d (47.6 MBOE/d)
      •   48 current drilled but uncompleted wells (“DUCs”); DUC balance expected to
          be worked down along with Diamondback’s DUC balance in 2021, lowering
          2021 reinvestment ratio
      •   QEP’s Williston assets will be considered non-core and will be used to harvest
          cash flow or they will be divested, pending market conditions, with potential
          sale proceeds to be used towards debt reduction
      •   Significant adjacent Permian midstream infrastructure
      •   The pending QEP acquisition, together with the previously announced pending
          acquisition of assets from Guidon Operating LLC (“Guidon”), will bring
          Diamondback’s total leasehold interests to over 276,000 net surface acres in the
          Midland Basin (429,000 Midland and Delaware Basin net acres)

      “The acquisition of QEP also checks every box of Diamondback’s corporate
      development strategy. The business combination with QEP and the Guidon
      transaction are accretive on all relevant 2021 financial metrics including free cash
      flow per share, cash flow per share and leverage, even before accounting for
      synergies. Most importantly, the addition of this Tier-1 resource competes for
      capital right away in Diamondback’s current portfolio, and we will now be able to
      allocate most of our capital to the high-returning Midland Basin for the foreseeable
      future. Pro forma for these transactions, Diamondback is also expected to maintain
      its Investment Grade status, ensuring access to capital. As stated in past public
      commentary, Diamondback does not need to participate in industry consolidation
      to simply get bigger. We participate in corporate development opportunities that
      we firmly believe will increase the long-term value of our stockholders’
      investment,” stated Travis Stice, Chief Executive Officer of Diamondback.

      Mr. Stice continued, “Diamondback’s expectations for capital allocation in 2021
      remain unchanged: we are expecting to hold pro forma fourth quarter 2020 oil
      production flat through 2021 in the most capital efficient manner possible, which


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      has improved with today’s announcements. Our differentiated cost structure,
      combined with the addition of this top quartile resource, will allow Diamondback
      to consistently generate free cash flow and grow our return of capital program to
      our stockholders.”

      Tim Cutt, President and Chief Executive Officer of QEP, stated, “We believe that
      this strategic merger with Diamondback, along with the addition of the Guidon
      assets, provides our shareholders with an exciting investment opportunity, now and
      in the future. The large contiguous Tier-1 acreage position in the Northern Midland
      Basin is expected to lead to operational synergies and deliver capital efficiencies
      beyond what each company could achieve independently. I believe in this
      combination and look forward to being a long-term shareholder and watching the
      value of the company grow with time.”

      Mr. Cutt continued, “I also want to take this opportunity to recognize QEP’s
      employees and publicly thank them for their dedication and hard work in driving
      QEP’s success. Their tireless efforts over the past several years led to a culture of
      peer leading operational excellence, safety and efficiency.”

      TRANSACTION DETAILS

      Under the terms of the definitive merger agreement, stockholders of QEP will
      receive 0.05 shares of Diamondback common stock in exchange for each share of
      QEP common stock, representing an implied value to each QEP stockholder of
      $2.29 per share based on the closing price of Diamondback common stock on
      December 18, 2020. Upon closing the transaction and excluding the impact of
      shares to be issued in the previously announced acquisition of assets from Guidon,
      Diamondback stockholders will own approximately 92.8% of the combined
      company, and QEP stockholders will own approximately 7.2%.

      Diamondback remains committed to conservative financial management and is
      expected to maintain its Investment Grade credit ratings pro forma for the
      transaction.

      The transaction has been unanimously approved by the Boards of Directors of
      Diamondback and QEP and is expected to be completed in the first quarter or early
      in the second quarter of 2021, subject to the approval of QEP stockholders, the
      satisfaction of certain regulatory approvals and other customary closing conditions.
      Upon closing, Diamondback’s Board of Directors and executive team will remain
      unchanged. Additionally, the Company will continue to be headquartered in
      Midland, Texas.

      ADVISORS
      Goldman Sachs & Co. LLC is serving as lead financial advisor to Diamondback,
      with Moelis & Company also serving as financial advisor to Diamondback. Akin
      Gump Strauss Hauer & Feld LLP and Gibson, Dunn & Crutcher LLP are serving


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       as legal advisors to Diamondback. Evercore and Latham & Watkins LLP are
       serving as exclusive financial advisor and legal advisor to QEP, respectively.

                                          *       *       *

       About Diamondback Energy, Inc.

       Diamondback is an independent oil and natural gas company headquartered in
       Midland, Texas focused on the acquisition, development, exploration and
       exploitation of unconventional, onshore oil and natural gas reserves in the Permian
       Basin     in    West    Texas.     For    more      information,     please    visit
       www.diamondbackenergy.com.

       About QEP Resources

       QEP Resources, Inc. (NYSE: QEP) is an independent crude oil and natural gas
       exploration and production company focused in two regions of the United States:
       the Southern Region (primarily in Texas) and the Northern Region (primarily in
       North Dakota). For more information, visit QEP's website at: www.qepres.com.

       19.     On January 22, 2021, Defendants caused to be filed with the SEC a Form S-4

Registration Statement (the “Registration Statement”) under the Securities Act of 1933 in

connection with the Proposed Transaction.

   B. The Registration Statement Contains Materially False and Misleading Statements
      and Omissions

       20.     The Registration Statement, which recommends that QEP shareholders vote in

favor of the Proposed Transaction, omits and/or misrepresents material information concerning:

(i) QEP’s and Diamondback’s financial projections; (ii) the financial analyses performed by QEP’s

financial advisor, Evercore Group L.L.C. (“Evercore”), in connection with its fairness opinion;

(iii) potential conflicts of interest involving Evercore; and (iv) the sales process leading up to the

Proposed Transaction.

       21.     The omission of the material information (referenced below) renders the following

sections of the Registration Statement false and misleading, among others: (i) Background of the

Merger; (ii) Recommendation of the QEP Board and Reasons for the Merger; (iii) Opinion of


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QEP’s Financial Advisor, and (iv) Certain QEP Unaudited Forecasted Financial Information.

       22.      Unless and until the material misstatements and omissions (referenced below) are

remedied before the anticipated shareholder vote on the Proposed Transaction, QEP shareholders

will be forced to make a voting decision on the Proposed Transaction without full disclosure of all

material information. In the event the Proposed Transaction is consummated, Plaintiff may seek

to recover damages resulting from Defendants’ misconduct.

             1. Material Omissions Concerning QEP’s and Diamondback’s Financial
                Projections

       23.      The Registration Statement omits material information concerning QEP’s and

Diamondback’s financial projections.

       24.      With respect to the “QEP Unaudited Forecasted Financial Information” and

“Forecasted Financial Information with respect to Diamondback,” the Registration Statement

fails to disclose: (1) all line items underlying (i) Adjusted EBITDA, (ii) Free Cash Flow, and (iii)

Net Debt/Adjusted EBITDA; (2) QEP’s and Diamondback’s net income projections; and (3) a

reconciliation of all non-GAAP to GAAP financial metrics.

       25.      When a company discloses non-GAAP financial metrics in a Registration

Statement, the company must also disclose all projections and information necessary to make the

non-GAAP metrics not misleading, and must provide a reconciliation (by schedule or other clearly

understandable method) of the differences between the non-GAAP financial metrics disclosed or

released with the most comparable financial metrics calculated and presented in accordance with

GAAP. The SEC has increased its scrutiny of a company’s use of non-GAAP financial measures




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as such measures can be misleading and “crowd out” more reliable GAAP information. 1

       26.      The disclosure of the aforementioned information is material because it would

provide the Company’s shareholders with a basis to project the future financial performances of

the Company and combined company and would allow shareholders to better understand the

financial analyses performed by the Company’s financial advisor in support of its fairness opinion.

Shareholders cannot hope to replicate management’s inside view of the future prospects of the

Company. Without such information, which is uniquely possessed by Defendant(s) and the

Company’s financial advisor, the Company’s shareholders are unable to determine how much

weight, if any, to place on the Company’s financial advisor’s fairness opinion in determining

whether to vote for or against the Proposed Transaction.

       27.      The above-referenced omitted information, if disclosed, would significantly alter

the total mix of information available to the Company’s shareholders.

             2. Material Omissions Concerning Evercore’s Analyses

       28.      In connection with the Proposed Transaction, the Registration Statement omits

material information concerning analyses performed by Evercore.

       29.      The Registration Statement fails to disclose the following concerning Evercore’s

“Net Asset Value Analysis for QEP on a Standalone Basis”: (1) all line items underlying the future

cash flows of QEP; (2) the individual inputs and assumptions underlying the discount rates ranging



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  Mary Jo White, Keynote Address, International Corporate Governance Network Annual
Conference: Focusing the Lens of Disclosure to Set the Path Forward on Board Diversity, Non-
GAAP, and Sustainability (June 27, 2016), https://www.sec.gov/news/speech/chair-white-icgn-
speech.html (footnotes omitted) (last visited Jan. 29, 2021) (“And last month, the staff issued
guidance addressing a number of troublesome practices which can make non-GAAP disclosures
misleading: the lack of equal or greater prominence for GAAP measures; exclusion of normal,
recurring cash operating expenses; individually tailored non-GAAP revenues; lack of consistency;
cherry-picking; and the use of cash per share data. I strongly urge companies to carefully consider
this guidance and revisit their approach to non-GAAP disclosures.”).

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from 8% to 35%; (3) the range of total reserve value under each of the QEP Management Plan

Pricing and the NYMEX Strip Pricing scenarios; (4) the present value of the future estimated

effects of QEP’s hedging based on the hedge portfolio as of December 9, 2020; (5) the present

value of the general and administrative expenses; (6) the present value of cash taxes; (7) QEP’s

estimated net debt as of December 31, 2020; and (8) the fully diluted outstanding shares of QEP

common stock.

       30.     The Registration Statement fails to disclose the following concerning Evercore’s

“Discounted Cash Flow Analysis for QEP on a Standalone Basis”: (1) the standalone, unlevered,

after-tax free cash flows that QEP was expected to generate over the period from January 1, 2021

through December 31, 2024 including all underlying line items; (2) the ranges of terminal values

for QEP; (3) the individual inputs and assumptions underlying the (i) perpetuity growth rate range

of 2.0% to 3.0%, (ii) terminal year enterprise value to last-twelve-month EBITDAX multiples

ranging from 3.5x to 4.5x, and (iii) discount rates ranging from 11.0% to 13.0%; (4) QEP’s net

debt as of December 31, 2020; and (5) the fully diluted outstanding shares of QEP common stock.

       31.     With respect to Evercore’s “Analysts’ Price Targets” analyses of QEP and

Diamondback, the Registration Statement fails to disclose: (1) the individual price targets observed

by Evercore in its analyses; and (2) the sources thereof.

       32.     With respect to Evercore’s “Premia Paid Analysis,” the Registration Statement

fails to disclose the individual premiums paid in the transactions selected by Evercore.

       33.     The Registration Statement fails to disclose the following concerning Evercore’s

“Discounted Cash Flow Analysis for Diamondback on a Standalone Basis”: (1) the standalone,

consolidated, unlevered, after-tax free cash flows Diamondback was expected to generate over the

period from January 1, 2021 through December 31, 2024 including all underlying line items; (2)



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the ranges of terminal values for Diamondback; (3) the individual inputs and assumptions

underlying the (i) perpetuity growth rate range of 2.0% to 3.0%, (ii) terminal year enterprise value

to LTM EBITDAX multiples ranging from 5.5x to 7.5x, and (iii) discount rates ranging from 7.0%

to 9.0%; (4) Diamondback’s net debt as of December 31, 2020; (5) the market value of

Diamondback’s direct interest in Viper Energy Partners and Rattler Midstream; and (6) the fully

diluted outstanding shares of Diamondback common stock

       34.      The valuation methods, underlying assumptions, and key inputs used by

Evercore in rendering its purported fairness opinion must be fairly disclosed to QEP shareholders.

The description of Evercore’s fairness opinion and analyses, however, fails to include key inputs

and assumptions underlying those analyses. Without the information described above, QEP

shareholders are unable to fully understand Evercore’s fairness opinion and analyses, and are thus

unable to determine how much weight, if any, to place on them in determining whether to vote for

or against the Proposed Transaction. This omitted information, if disclosed, would significantly

alter the total mix of information available to the Company’s shareholders.

             3. Material Omissions Concerning Potential Conflicts of Interest Involving
                Evercore

       35.      The Registration Statement omits material information concerning potential

conflicts of interest involving Evercore.

       36.      The Registration Statement fails to disclose the specific timing and nature of the

“financial advisory or other services” Evercore provided to QEP, Diamondback, and their affiliates

during the two-year period prior to the date of Evercore’s fairness opinion, including the amount

of compensation Evercore received for providing each service.

       37.      Disclosure of a financial advisor’s compensation and potential conflicts of interest

to shareholders is required due to their central role in the evaluation, exploration, selection, and


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implementation of strategic alternatives and the rendering of any fairness opinions. Disclosure of

a financial advisor’s potential conflicts of interest may inform shareholders on how much weight

to place on that analysis.

       38.      The above-referenced omitted information, if disclosed, would significantly alter

the total mix of information available to the Company’s shareholders.

             4. Material Omissions Concerning the Sales Process Leading up to the Proposed
                Transaction

       39.      The Registration Statement omits material information concerning the sales process

leading up to the Proposed Transaction.

       40.      The Registration Statement provides that, during the sales process, QEP entered

into confidentiality agreements with potential buyers.

       41.      The Registration Statement, however, fails to disclose the terms of all

confidentiality agreements, including whether such agreements contained standstill provisions

with “don’t ask, don’t waive” (DADW) provisions (including their time of enforcement) that

would preclude interested parties from making superior offers for the Company.

       42.      Without this information, QEP shareholders may have the mistaken belief that

potential suitors are or were permitted to submit superior proposals for the Company, when in fact

they are or were contractually prohibited from doing so. This information is material because a

reasonable QEP shareholder would want to know, prior to voting for or against the Proposed

Transaction, whether other potential buyers are or were foreclosed from submitting a superior

proposal.

       43.      The above-referenced omitted information, if disclosed, would significantly alter

the total mix of information available to the Company’s shareholders.




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                                          COUNT I
          For Violations of Section 14(a) and Rule 14a-9 Promulgated Thereunder
                                   Against All Defendants
        44.     Plaintiff repeats and realleges each and every allegation contained above as if fully

set forth herein.

        45.     During the relevant period, Defendants, individually and in concert, directly or

indirectly, disseminated or approved the false and misleading Registration Statement specified

above, which failed to disclose material facts necessary in order to make the statements made, in

light of the circumstances under which they were made, not misleading, in violation of Section

14(a) of the Exchange Act and Rule 14a-9 promulgated thereunder by the SEC.

        46.     Each of the Individual Defendants, by virtue of his/her positions within the

Company as officers and/or directors, were aware of the omitted information but failed to disclose

such information, in violation of Section 14(a) of the Exchange Act. Defendants, by use of the

mails and means and instrumentalities of interstate commerce, solicited and/or permitted the use

of their names to file and disseminate the Registration Statement with respect to the Proposed

Transaction. The Defendants were, at minimum, negligent in filing the materially false and

misleading Registration Statement.

        47.     The false and misleading statements and omissions in the Registration Statement

are material in that a reasonable shareholder would consider them important in deciding how to

vote on the Proposed Transaction.

        48.     By reason of the foregoing, Defendants have violated Section 14(a) of the Exchange

Act and Rule 14a-9 promulgated thereunder.

        49.     Because of the false and misleading statements and omissions in the Registration

Statement, Plaintiff is threatened with irreparable harm.



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                                            COUNT II
                         Violations of Section 20(a) of the Exchange Act
                               Against the Individual Defendants

       50.     Plaintiff repeats and realleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

       51.     The Individual Defendants acted as control persons of the Company within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their senior positions

as officers and/or directors of the Company and participation in and/or awareness of the

Company’s operations and/or intimate knowledge of the false statements contained in the

Registration Statement filed with the SEC, they had the power to and did influence and control,

directly or indirectly, the decision-making of the Company, including the content and

dissemination of the false and misleading Registration Statement.

       52.     Each of the Individual Defendants was provided with or had unlimited access to

copies of the Registration Statement and other statements alleged by Plaintiff to be misleading

prior to and/or shortly after these statements were issued and had the ability to prevent the issuance

of the statements or cause the statements to be corrected. As officers and/or directors of a publicly

owned company, the Individual Defendants had a duty to disseminate accurate and truthful

information with respect to the Registration Statement, and to correct promptly any public

statements issued by the Company which were or had become materially false or misleading.

       53.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the operations of the Company, and, therefore, is presumed to have had the power

to control or influence the particular transactions giving rise to the securities violations as alleged

herein, and exercised the same. The Individual Defendants were provided with or had unlimited

access to copies of the Registration Statement and had the ability to prevent the issuance of the



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statements or to cause the statements to be corrected. The Registration Statement at issue contains

the recommendation of the Individual Defendants to approve the Proposed Transaction. Thus, the

Individual Defendants were directly involved in the making of the Registration Statement.

       54.     In addition, as the Registration Statement sets forth at length, and as described

herein, the Individual Defendants were involved in negotiating, reviewing, and approving the

Proposed Transaction. The Registration Statement purports to describe the various issues and

information that they reviewed and considered—descriptions which had input from the Individual

Defendants.

       55.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       56.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9

promulgated thereunder, by their acts and omissions as alleged herein. By virtue of their positions

as controlling persons, the Individual Defendants are liable pursuant to Section 20(a) of the

Exchange Act. As a direct and proximate result of Defendants’ conduct, the Company’s

shareholders will be irreparably harmed.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment and relief as follows:

       A.      Preliminarily and permanently enjoining Defendants and all persons acting in

concert with them from proceeding with, consummating, or closing the Proposed Transaction and

any vote on the Proposed Transaction, unless and until Defendants disclose and disseminate the

material information identified above to Company shareholders;




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       B.      In the event Defendants consummate the Proposed Transaction, rescinding it and

setting it aside or awarding rescissory damages;

       C.      Declaring that Defendants violated Sections 14(a) and 20(a) of the Exchange Act,

and Rule 14a-9 promulgated thereunder;

       D.      Awarding Plaintiff reasonable costs and expenses incurred in this action, including

counsel fees and expert fees; and

       E.      Granting such other and further relief as the Court may deem just and proper.

                                    JURY TRIAL DEMANDED

       Plaintiff hereby demands a trial by jury.

Dated: January 29, 2021                             Respectfully submitted,

                                                    HALPER SADEH LLP

                                                    /s/ Daniel Sadeh
                                                    Daniel Sadeh, Esq.
                                                    Zachary Halper, Esq. (to be admitted pro hac
                                                    vice)
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                                                           zhalper@halpersadeh.com

                                                    Counsel for Plaintiff




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